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6                             UNITED STATES DISTRICT COURT

7                                   DISTRICT OF NEVADA
8
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9      SALLY D. VILLAVERDE,                     Case No. 2:21-cv-01595-GMN-BNW

10                                   Petitioner, ORDER
11           v.
12
       WILLIAM HUTCHING, et al.,
13
                                  Respondents.
14

15          Respondents seek an extension of time to respond to Sally D. Villaverde’s
16    amended 28 U.S.C. § 2254 habeas corpus petition (ECF No. 16). Good cause
17    appearing,
18          IT IS ORDERED that respondents’ unopposed motion for extension of time to file
19    a response to the amended petition (ECF No. 16) is GRANTED. The deadline to file
20    the response is extended to July 28, 2022.
21               June 23, 2022
22          DATED: 14 June 2022
                           2022.

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                                                     GLORIA M. NAVARRO
25                                                   UNITED STATES DISTRICT JUDGE

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